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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


YVETTE GBALAZEH, LEE SUNBURY, and                        §
FRED SIMS, on behalf of themselves and                   §
all others similarly situated,                           §
                                                         §
        Plaintiffs,                                      §
                                                         §
v.                                                       §       CIV. CASE NO. 3:18-cv-00076-N
                                                         §
CITY OF DALLAS, TEXAS, a municipality of                 §
the State of Texas,                                      §
                                                         §
        Defendant.                                       §       JURY TRIAL DEMANDED


                      PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

        COME NOW, Plaintiffs YVETTE GBALAZEH, LEE SUNBURY, and FRED SIMS on

behalf of themselves and all others similarly situated (collectively, “Plaintiffs”), file this their

Motion for Summary Judgment (this “Motion”), and respectfully states as follows:

        1.      COUNT I – That the Challenged Laws violate the First and Fourteenth Amendment; and,

that because the enforcement of the Challenged Laws violates many principles of law, there is no genuine

issue as to any material fact that prevents the Court from declaring the City’s policies of enforcement

unlawful and permanently enjoining Defendant from enforcing the Challenged Laws.

        2.      COUNT 2 – That any arrests made pursuant to the Challenged Laws violates the Fourth

and Fourteenth Amendment; and, that because the enforcement of the Challenged Laws violates many

principles of law, there is no genuine issue as to any material fact that prevents the Court from declaring

the City’s policies of enforcement unlawful and permanently enjoining Defendant from enforcing the

Challenged Laws.

        3.      The elements of each claim or defense as to which summary judgment is sought will be

more fully articulated in Plaintiff’s Brief in Support of Motion for Summary Judgment, which will be filed
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in accordance with LR 56.5, and comply with the requirements of LR 7.2. In accordance with LR 56.6,

Plaintiff will also file an Appendix.

                                          REQUESTED RELIEF

        4.       Plaintiffs respectfully ask the Court to enter an order granting this Motion for Partial

Summary Judgment, and requests the following relief against Defendant, their agents, servants, employees,

attorneys, and all persons and entities in active concert or participation with them, directly or indirectly:

             a. A declaratory judgment that the Challenged Laws violate the First, Fourth, and Fourteenth

                 Amendment;

             b. A declaratory judgment holding that any arrests and detention made pursuant to the

                 Challenged Laws was an unlawful violation of 42 U.S.C. § 1983; and

             c. A permanent injunction prohibiting the City from enforcing the Challenged Lawshereby

                 submit this Application for Preliminary Injunction pursuant to Federal Rule of Civil

                 Procedure 65 and the Local Civil Rules of the Northern District of Texas.

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs request the Court grant this their

Motion for Summary Judgment and enter a preliminary injunction in substantial conformity with

the Proposed Order attached hereto, and for any such further relief at law or in equity to which

they may be entitled.




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       Dated: August 26, 2019.

                                              Respectfully submitted,

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                                              By: /s/Ramon de Jesus Rodriguez
                                              Ramon de Jesus Rodriguez
                                              State Bar No. 24088319

                                              ATTORNEY FOR PLAINTIFFS




                                 CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on August 26, 2019 a true and correct copy
of the foregoing application and supporting documents were served on Defendant’s counsel of
record via ECF in accordance Federal Rules of Civil Procedure.

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                                              By: /s/Ramon de Jesus Rodriguez
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